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December 22, 2020                                                           A. Lee Hogewood, III
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Dear Counsel:

        I am writing to you on behalf of our clients Highland Capital Management Fund Advisors, L.P.
(“HMCFA”) and NexPoint Advisors, L.P. (“NexPoint”, and together with HCMFA, the “Advisors”), and
Highland Income Fund, NexPoint Strategic Opportunities Fund, and NexPoint Capital, Inc. (together, the
“Funds”). CLO Holdco, Ltd. ("CLO Holdco") whose counsel is copied below, joins in this notice and
request.

        As you are aware, certain registered investment companies and a business development
company managed by either NexPoint or HCMFA own preference shares in many of the CLOs. In the
following cases those companies own a majority of such shares 1:

    •   Stratford CLO, Ltd. 69.05%
    •   Grayson CLO, Ltd. 60.47%
    •   Greenbriar CLO, Ltd. 53.44%




1
 These ownership percentages are derived from information provided by the Debtor. If the Debtor contends that
the ownership percentages are inaccurate, please inform us of the Debtor’s differing calculations.




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        In other cases, such companies in combination with CLO Holdco hold all, a super-majority, or a
majority of the preference shares in the following CLOs:

       •   Liberty CLO, Ltd. 70.43%
       •   Stratford CLO, Ltd. 69.05%* 2
       •   Aberdeen Loan Funding, Ltd. 64.58%
       •   Grayson CLO, Ltd. 61.65%*
       •   Westchester CLO, Ltd. 58.13%
       •   Rockwall CDO, Ltd. 55.75%
       •   Brentwood CLO, Ltd. 55.74%
       •   Greenbriar CLO, Ltd. 53.44%*

           Additionally, such companies own significant minority stakes in the following CLO’s:

       •   Eastland CLO, Ltd. 41.69%
       •   Red River CLO, Ltd. 33.33%

        The ownerships described above represent in many cases the total remaining outstanding
interests in such CLOs, because the noteholders have been paid in full. In others, the remaining
noteholders represent only a small percentage of remaining interests. Thus, the economic ownership of
the registered investment companies, business development company, and CLO Holdco largely
represent the investors in the CLOs identified above.

         Contractually, the Debtor is obligated to maximize value for the benefit of the preference
shareholders. Accordingly, we respectfully request that no further dispositions of CLO interests occur
pending the confirmation hearing. While we recognize the Court denied the Advisor and Funds motion
on this subject, the Court did not require liquidations occur immediately, and we reserve all rights to
and remedies against the Debtor should the Debtor continue to liquidate CLO interests in contravention
of this joint request. Given the Advisor, Funds, and CLO Holdco's requests, it is difficult to understand
the Debtor's rationale for continued liquidations, or the benefit to the Debtor from pursuing those sales.

         As you know, HCMLP’s duties are set forth in the portfolio management agreements of the
CLOs, which themselves have been adopted under the Investment Advisers Act of 1940 (“Advisers Act”).
As HCMLP readily admits, it is: (i) terminating employees on January 31, 2021, which will result in a loss
of the employees that have traditionally serviced those CLOs; (ii) ignoring the requests of the Advisors,
Funds, and CLO Holdco, which together account for all or a majority of interests in certain CLOs, and
selling assets of those CLOs prior to plan-confirmation; and (iii) adding a replacement manager as
subadviser prior to January 31, 2021. The Advisors, Funds, and CLO Holdco assert that those actions run
in contravention to HCMLP's duty to maximize value for the holders of preference shares and thus what
HCMLP has agreed to under the portfolio management agreement, as well as its duties under the
Advisers Act, which ultimately will adversely impact the economic owners noted above.


2
    CLO’s marked with an asterisk (*) appear in the foregoing list as well.




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         For the forgoing and other reasons, we request that no further CLO transactions occur at least
until the issues raised by and addressed in the Debtor’s plan are resolved at the confirmation hearing.



Sincerely,

A. Lee Hogewood, III
A. Lee Hogewood, III




                                                                                  EXHIBIT 3
